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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA                      :
                                              :
                 v.                           :       No. 1:21-cr-00257-RDM
                                              :
RONNIE BRIAN PRESLEY,                         :
                                              :
                               Defendant.     :

                             PARTIES’ JOINT STATUS REPORT

        The United States of America, by and through the United States Attorney for the District

of Columbia, and defendant Ronnie Brian Presley, by and through his counsel of record, present

this joint status report.

        The defense recently asked the government to extend the current plea offer, which had

been set to expire on April 10, 2022, for a few more weeks. The government has agreed to this

request.

        In addition, the government provided substantial additional discovery to the defense on

April 5, 2022.

        Accordingly, both parties ask that the Court set a new joint status report date for on or

about May 16, 2022. The parties further ask that the Court toll the Speedy Trial Act clock until

the new report date, because the ends of justice outweigh the best interest of the public and the

defendant in a speedy trial, due to the need for the defense to continue to consider the plea offer

and to review the new discovery.
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                                 Respectfully submitted,
      MATTHEW M. GRAVES                        Alfred Guillaume, III
      UNITED STATES ATTORNEY



by:   /s/Michael C. Liebman                    /s/Alfred Guillaume, III
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